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                     EXHIBIT G
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l ife 1'artners, Inc.                                   fax: 254-751-1025 • e-mail: questionslifepartnersinc.com

                                     Redacted                   LIFE TRUST
                                          ARTICLE I - TRUST ESTATE

                                                  Transfer in Trust

1.01. The Settlor has transferred and delivered to the Trustee, subject to the fulfillment of all terms and
conditions of the Life Settlement Purchase Agreement and Life Settlement Escrow Agreement of even date
herewith and upon the terms and subject to the uses and purposes hereinafter set forth, the following property
which shall constitute the Trust Estate:

Life insurance policy number Redacted           issued by MetLife Investors USA Insurance Company on the life
of           Redacte  (hereafter "the Policy") the receipt of which is hereby acknowledged by Trustee.
             d

                                      Release of All Rights in Insurance Policy

1.02. The Settlor hereby releases to the Trustee all rights of ownership in the insurance policy described in Section
1.01, subject to the fulfillment of all terms and conditions of the Life Settlement Purchase Agreement and Life
Settlement Escrow Agreement of even date herewith and relating to the Policy.

                                  ARTICLE II- IRREVOCABILITY OF TRUST

This Trust shall be irrevocable and shall not be altered, amended, revoked, or terminated by the Settlor or any other
person. This Trust is to be a custodial trust only; provided, however, that this trust shall have no force or effect
until all of the terms and conditions of the Life Settlement Purchase Agreement and Life Setdement Escrow
Agreement of even date herewith have been fulfilled.

                               ARTICLE III - TRUSTEES RIGHTS IN POLICIES

The Trustee shall be vested with all rights, powers, options, and privileges in and to the Policy which is the Trust
Estate, but Trustee may exerdse only those powers, options, and privileges as set forth in Article VIII herein. The
Settlor agrees to execute any and all instruments necessary to permit the Trustee to exercise any rights, powers,
options, or privileges which Settlor may have under the Policy.


                              ARTICLE IV - BENEFICIARY UNDER THIS TRUST

The beneficiary of this trust shall be Advance Trust & Life Escrow Services, LTA its successors and assigns.
Neither the Settlor not the Trustee shall have any right to change this designation without the express consent of
Advance Trust & Life Escrow Services, LTA.

                  ARTICLE V - PAYMENT OF PREMIUMS AND INSURANCE PROCEEDS

5.01. The duty and responsibility for the payment of premiums and other charges on said policies of insurance
shall rest on the beneficiary of this trust from funds escrowed for that purpose. In the event said escrow fund shall
be insufficient to pay such premiums, the trustee may advance funds to said escrow fund or may require said funds
be provided by any secured party to whom the Trust may be indebted in so that such party may protect its interest
in the collateral. The duty and responsibility to have the Policy made payable to said beneficiary under this
Agreement shall rest solely on the Settlor which he agrees to do forthwith. The Trustee shall not be obligated for
the care or safekeeping of Policy prior to its delivery. This Trust shall be known as 'THE TRUST."

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                                           Collection of Insurance Proceeds

5.02. On the death of the insured, the Trustee shall take all necessary steps to see that the Beneficiary collects the
proceeds of such insurance policies. To facilitate the prompt collection of such sums, the Trustee shall assist the
Beneficiary in the completion of claim forms, shall furnish the necessary proofs of death to the respective insurance
companies, and is authorized and empowered to do any and all things which in its discretion are necessary to collect
such proceeds, including, but not limited to, the following powers:

(1)      To execute and deliver all other necessary papers;

(2)      To compromise or adjust any disputed claim in such manner as the Trustee deems just;

(3)     To bring suit on the Policy if payment under the Policy is contested by the insurer, and to pay all expenses
of any such suit, including attorneys' fees, from the principal of the Trust Estate, or from any other insurance
proceeds, provided always that the Trustee shall be under no obligation or duly to bring suit unless he deems it
advisable, and unless he shall have either adequate funds with which to pay the expenses of such suit or
indemnification to his satisfaction against any loss, liability, or expenses which may be incurred in bringing such
suit.

                                    ARTICLE VI- TERMINATION OF TRUST

Upon the death of the insured, the Trustee shall pay or cause to be paid all note(s) of the Trust according to the
terms of such note(s). Upon such payment and extinguishment of the Trust Estate, all obligations of the Trustee
herein shall cease and the trust shall be extinguished.

                                  ARTICLE VII- APPOINTMENT OF TRUSTEE

Brian D. Pardo is appointed Trustee under this instrument. If at any time said Trustee is unable or unwilling to
serve as Trustee, Brian D. Pardo may designate a successor Trustee under this instrument. The original Trustee and
any successor or substitute Trustee named herein shall serve without bond. Except as otherwise expressly
indicated, each successor or substitute Trustee shall have all the powers and inirnunities herein given to the original
Trustee.

                                  ARTICLE VIII- POWERS OF THE TRUSTEE

8.01. The Trustee shall have the power and discretion to do all such acts to accomplish the following:

(1)     To execute any notes on behalf of the Trust and to pledge all or a portion of the Trust Estate as collateral
for any said note of the Trust.

(2)      To enter into any agreements or contracts in connection with the execution of any ownership rights under
the life insurance policy which serves as the Trust Estate.

(3)     To enter into any agreements or execute any instructions to facilitate the transfer of ownership of any asset
of the Trust Estate.

(4)      To enter into any agreements or execute any instructions to facilitate the payment of death benefits under
the life insurance policy which serves as the Trust Estate.



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                                                        Instruments

8.02. The Trustee is authorized to execute and deliver all necessary or proper instruments in order to fulfill its
duties under the trust.

                                                  Truste&s Discretion

8.03. All discretion granted to or vested in the Trustee by any provision of this instrument is to be exercised in
the sole and absolute discretion of the Trustee.

                                             ARTICLE IX DEFINITIONS
                                                            -




9.01. Where necessary or appropriate to the meaning hereof, the singular and plural shall be interchangeable, and
wotds of any gender shall include all genders.


                          ARTICLE X INTERPRETATION AND ENFORCEMENT
                                         -




                                                   Notice of Events

10.01. Until the Trustee shall have received written notice of any birth, death, or other event on which the right to
receive payment from the Trust Estate may depend, he shall incur no liability for disbursements or distributions
theretofore made in good faith.

                                                 Exercise of Discretion

10.02. Where under this Agreement the Trustee is granted discretion, his discretion shall be sole and absolute and
any action taken or refrained from by it in good faith shall be binding and conclusive on all persons and
corporations interested herein.

                                                           Situs

10.03. The Trust is established by the Settlor and accepted by the Trustee under the laws of the State of Texas, and
all questions concerning its validity, construction, and administration shall be determined under the laws of such
State.

IN WITNESS WHEREOF, this Trust Agreement has been signed by the Settlor and the Trustee on October 28,
2011.

TRUSTEE                                                   SETLOR
                                             Redacted


BY:
        Brian D. Pardo




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